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                                  CERTIFICATE OF SERVICE

        I, Brian H Leinhauser, hereby certify that on this 24th day of July, 2024, the foregoing

was filed electronically and is available for viewing and downloading from the ECF system of

the United States District Court for the District of New Jersey. The following parties received

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